                Case 5:92-cr-00029-JRH-JEG Document 1136 Filed 10/07/15 Page 1 of 1
AO 247(Rev                        Motionfor Sentcnce
                     OrderRegarding                               to l8 U.S.C.$ 3582(cX2)
                                                   ReductionPursuant

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                                        UNrrEoSrernsDIsrrucrCounr
                                                                     for the                                      2015oci-7
                                                                                                                         ffl 9:27
                                                       Southern    District of        Georgia                  ct r)v
                                                                WaycrossDivision
                    United Statesof America
                               v.
                                                                             CaseNo: 5:92CR00029-14
                          DwayneHagans
                                                                             USMNo: 08349-021
Date ofOriginal Judgment:                                29, 1993
                                                  November
Date ofPreviousAmendedJudgment;                                              Marcus Stan Ballew
tl tt f)ttre oJ LastAntentleclJudgmem tf Ant)                                o"f"rtto"t:t )1tor""y


                  ORDER REGARDINGMOTION FOR SENTENCEREDUCTION
                           PURSUANTTO 18 U.S.C.$ 3s82(c)(2)
        Upon motion of nthe defendant n the Directorofthe BureauofPrisons X the courtunder 18 U.S.C.
g 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently beenloweredandmaderetroactiveby the United StatesSentencing           Commissionpursuantto 28 U.S.C.
$ 99a(u), and having consideredsuch     motion, and taking into account  the  policy statementset fofih at USSG S1B l.l0
and the sentencingfactors set forth in 18 U.S.C. $ 3553(a),to the extent that they are applicable,

IT IS ORDERXD that the motion rs:
       n nENtpO.    E CnaNfEO                      and the defendant'spreviously imposedsentenceof imprisonment(asreflected
                                                                                                                          in
                                             480 months                                                       420 months
                                         (420 monthsas Ct. l,                                            (360 monthsasto Ct. 1,
               issuecl
the lastiudgmenr    of                 plq! 60lnelths asto Ct,2)         is reduced to               plqC6!!q4hq as1oCL4
                                              (CompleteParts I and II ofPage 2 when motion is granted)




Exceptas otherlviseprovided,all provisionsofthejudgment dated November29, 1993 shall remain in effect.
IT IS SO ORDERED.

Order Date:             to/6&otr                                                                         'r
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                                                                                                 J. RandalHall
EffectiveDate:           Novemberl, 2015
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